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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


   JAZZ PHARMACEUTICALS, INC.,          )    REDACTED PUBLIC VERSION
                                        )    FILED DECEMBER 4, 2024
                         Plaintiff,     )
                                        )    C.A. No. 22-941-GBW
        v.                              )
                                        )
   AVADEL CNS PHARMACEUTICALS,          )
   LLC,                                 )
                                        )
                         Defendant.     )
                                        )


                   AVADEL CNS PHARMACEUTICALS, LLC’S
                   BRIEF IN SUPPORT OF PRIVILEGE CLAIMS
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  I.     INTRODUCTION

         Avadel is willing to produce 48 documents unredacted and 3 additional documents with

  most of the previously applied redactions removed (listed in Appendix A), pursuant to the Court’s

  Oral Order (D.I. 207), which provides that Avadel’s production would not waive privilege as to

  those documents. Avadel requests that Jazz’s motion to compel be denied as to the remaining 25

  challenged documents.

         The majority of the remaining documents involve communications with Avadel’s

  consultants, ProPharma and Greenleaf. Avadel hired these two firms to advise Avadel on the FDA

  regulatory approval process related to LUMRYZ. Employees of ProPharma and Greenleaf worked

  closely with Avadel’s in-house and outside counsel on submissions and communications to FDA,

  which involved related legal issues. Accordingly, Avadel’s attorneys often communicated directly

  with ProPharma and Greenleaf to obtain information necessary to facilitate counsel’s legal

  analysis. Three documents contain redacted slides



                                       As detailed below, the remaining disputed materials reflect

  communications that were essential to counsel’s ability to render informed legal advice, which are

  subject to the core protections of attorney-client privilege against compelled disclosure of

  confidential communications between counsel and their client’s employees and agents.

  II.    LEGAL STANDARD

         Attorney-client privilege protects from production any document that is “(1) a

  communication (2) made between privileged persons (3) in confidence (4) for the purpose of

  obtaining or providing legal assistance for the client.” WebXchange, Inc. v. Dell Inc.,

  264 F.R.D. 123, 126 (D. Del. 2010) (citation omitted).
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         Agents of the client “that help facilitate attorney-client communications of legal

  representation are included within ‘privilege[d] persons.’” Id.; see also Westinghouse Elec. Corp.

  v. Republic of Philippines, 951 F.2d 1414, 1424 (3d Cir. 1991) (noting that “courts have held that

  the client may allow disclosure to an ‘agent’ assisting the attorney in giving legal advice to the

  client without waiving the privilege”). Consultants communicating for the purpose of obtaining or

  informing legal advice qualify as agents protected by the attorney-client privilege. See, e.g., United

  States v. Alvarez, 519 F.2d 1036, 1045 (3d Cir. 1975) (citing United States v. Kovel, 296 F.2d 918

  (2d Cir. 1961)). Attorney-client privilege applies to communications with consultants who have

  “information needed by attorneys in rendering legal advice” or who are otherwise “integral to the

  solicitation, receipt and use of legal advice.” See, e.g., Robocast, Inc. v. Apple, Inc., No. CV 10-

  1055 (RGA), 2013 WL 12147601, at *4, *5 (D. Del. July 19, 2013); Magten Asset Management

  Corp. v. Northwestern Corp., No. CV 05-499 (JJF), 2007 WL 9811153, at *3 (D. Del. June 14,

  2007). The “obvious active engagement between the attorney and the consultant for the purpose

  of legal advice” renders such communications protected by the attorney-client privilege. Sandoz

  Inc. v. Lannett Co., 570 F. Supp. 3d 258, 266 (E.D. Pa. 2021).

         Where the party asserting protection demonstrates that the communications primarily relate

  to issues on which attorneys and their colleagues provided legal advice, those documents are

  privileged and protected from disclosure. See, e.g., Elm 3DS Innovations, LLC v. Samsung Elecs.

  Co., No. CV 14-1430-LPS-JLH, 2021 WL 4819904, at *5 (D. Del. Oct. 15, 2021).

  Communications remain confidential (and privilege is not waived) if they do not include and are

  not subsequently shared with third parties other than the client, its attorney, or their agents. See,

  e.g., Onyx Therapeutics, Inc. v. Cipla Ltd., No. CV 16-988-LPS, 2019 WL 668846, at *1 (D. Del.

  Feb. 15, 2019). Privilege also applies to communications made with the primary purpose of




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  obtaining or providing legal assistance, as opposed to non-legal business advice, for the client. See,

  e.g., TC Tech. LLC v. Sprint Corp., No. 16-CV-153-RGA, 2018 WL 6584122, at *3 (D. Del. Dec.

  13, 2018).

  III.   ARGUMENT

         Communications with independent pharmaceutical consulting services company are

  entitled to attorney-client privilege protections where the consultant was involved in legal and

  regulatory issues such as “intellectual property rights, interaction with the FDA, and application

  for and receipt of pediatric exclusivity for [a drug].” See In re Flonase Antitrust Litig.,

  879 F. Supp. 2d 454, 460 (E.D. Pa. 2012). Avadel relied on the expertise of its regulatory

  consultants ProPharma and Greenleaf regarding the FDA regulatory process and FDA’s

  requirements to enable Avadel’s attorneys to provide informed legal advice to their client. Ex. 8

  ⁋⁋ 4, 6, D.I. 192 (“Seurer Decl.”).

         Avadel’s General Counsel, Jerad Seurer, worked closely with Avadel’s employees and

  agents ProPharma and Greenleaf on legal and regulatory matters related to FDA approval of

  Avadel’s New Drug Application for LUMRYZ. Mr. Seurer actively communicated with regulatory

  consultants at ProPharma and Greenleaf in order to provide legal advice to Avadel regarding

  submissions to FDA, REMS design and implementation, drug labeling requirements, obtaining

  orphan drug exclusivity, patents related to LUMRYZ, and litigation with Jazz. Mr. Seurer, and

  others at Avadel, treated these consultants as functionally equivalent to Avadel employees,

  including Ms. Scarola, who has since become a full-time employee at Avadel. Id. ⁋⁋ 6-7. Mr.

  Seurer also requested



                                                                  . Only Avadel’s counsel, employees




                                                    3
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  of Avadel involved in the FDA regulatory process, and Avadel’s regulatory consultants received

  or were present on these emails and presentations, which were not intended to be shared to others.

         A.      ProPharma Communications

         While Avadel has produced thousands of its communications with ProPharma, Jazz has

  only challenged 34. D.I. 192 at 3. Avadel has further narrowed the dispute to 9 documents, relating

  to 5 discrete email threads. These documents




                      Avadel’s legal team regularly conferred with ProPharma consultants to obtain

  information necessary to provide legal advice regarding FDA submissions and regulatory strategy.

  Seurer Decl. ⁋ 7. And in some cases,



                             These communications are also protected from disclosure because they

  reveal the substance of the Avadel employee’s request for legal advice, which is not waived by the

  presence of ProPharma. See WebXchange, Inc., 264 F.R.D. at 128. Similarly, when non-lawyer

  employees of Avadel disclose legal advice received from counsel within the context of their

  employment capacities and to assist Avadel in obtaining legal advice, such communications

  remain confidential and privileged. See id.

                 1.        Email Thread, Subject: “      ”
                           (PRIV_AVDL_AT_00004385, PRIV_AVDL_AT_00004386,
                           PRIV_AVDL_AT_00021869)

         These three documents are part of an email thread



                       Dr. Dubow was Avadel’s Chief Medical Officer, primarily responsible for

  clinical development and operations related to LUMRYZ. Ex. 1 ⁋ 4 (“Suppl. Seurer Decl.”). Ms.


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  Burroughs was Avadel’s Director of Pharmacovigilance & Medical Information, primarily

  responsible for the development of the LUMRYZ REMS. Id. These communications



                                          The communication

                                                        In these communications,




                                 Id. These communications were kept confidential and were not

  intended to be shared with non-privileged third parties. Id. In these communications,



                                                                                                    Id.

                 2.        Email Thread, Subject: “          ”
                           (PRIV_AVDL_AT_00004433, PRIV_AVDL_AT_00004074)

         These two documents are part of an email thread



                                                    These communications




                              The discussion remained confidential and was not shared, nor intended

  to be shared, with any non-privileged third parties. Id. ⁋ 5.

                                                                  , and both assisted Mr. Seurer in the

  provision of legal advice to Avadel and helped Mr. Seurer make decisions related to FDA

  regulatory issues. Id.




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                  3.       Email Thread, Subject: “                 ”
                           (PRIV_AVDL_AT_00004407)

          This document is an email thread



                                                          Maire Fenton was Program Director for

  Clinical Operations at Avadel, involved in conducting clinical trials related to LUMRYZ. Id. ⁋ 6.

  These communications



                                        The discussion remained confidential and was not shared,

  nor intended to be shared, with any non-privileged third parties. Id.

                                             , and both assisted Mr. Seurer in the provision of legal

  advice to Avadel and helped Mr. Seurer make decisions related to FDA regulatory issues. Id.

                  4.       Email Thread, Subject: “        ”
                           (PRIV_AVDL_AT_00003489, PRIV_AVDL_AT_00003960)

          These documents are part of an email thread




           These communications




  The discussion remained confidential and was not shared, nor intended to be shared, with any non-

  privileged third parties. Id. ⁋ 7.                                                                ,

  and both assisted Mr. Seurer in the provision of legal advice to Avadel and helped Mr. Seurer

  make decisions related to FDA regulatory issues. Id.


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               5.     Email Thread, Subject: “                  ” (PRIV_AVDL_AT_00004354)

       This document is an email thread




                                                                                         , but both

discussions remained confidential and were not shared, nor intended to be shared, with any non-

privileged third parties. Id. ⁋ 8.

                , and both assisted Mr. Seurer in the provision of legal advice to Avadel and

helped Mr. Seurer make decisions related to FDA regulatory issues. Id.

       B.      Greenleaf Communications

       Avadel has narrowed the dispute regarding communications with Greenleaf to 13

documents, relating to 5 discrete email threads. These thirteen documents



                                       . Seurer Decl. ⁋ 6.

                         , Greenleaf worked closely with Avadel’s in-house and outside counsel

to provide information that was necessary to Avadel’s ability to obtain legal advice related to the

FDA regulatory process. Id. ⁋⁋ 5-6.

               1.     Email Thread, Subject: “Revised ODE Supplement Doc”
                      (PRIV_AVDL_AT_00003477, PRIV_AVDL_AT_00001919,
                      PRIV_AVDL_AT_00000275, PRIV_AVDL_AT_00003209,
                      PRIV_AVDL_AT_00003476)

       These five documents are versions of an email thread with the subject line “

                 ,” and attachments to that thread. The communications



                                                7
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                                                           . Specifically, the communications




In these communications,



                                                               Suppl. Seurer Decl. ⁋ 9. The

communications

         These communications were kept confidential and were not intended to be shared with

non-privileged third parties. Id.



                                                     Id.

               2.      Email Thread, Subject: “            ”
                       (PRIV_AVDL_AT_00001926, PRIV_AVDL_AT_00001927,
                       PRIV_AVDL_AT_00000311)

       These three documents are attachments to the same email thread with the subject line

“                        .” The communications




                                                 8
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                                   Specifically, the communications




These documents



                                                           Id. ⁋ 10. These communications were

kept confidential and were not intended to be shared with non-privileged third parties. Id.




       Id.

              3.      Email Thread, Subject: “                      ”
                      (PRIV_AVDL_AT_00028737)

       This document is an email



             The communications




                                                         Id. ⁋ 11. The communication was kept

confidential and was not intended to be shared with non-privileged third parties. Id.



                                                              Id.




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              4.        Email Thread, Subject: “                   ”
                        (PRIV_AVDL_AT_00028499 / AVDL_AT_01016580)

       This document is an email thread with the subject line “                         .” The

redacted, privileged portions



                                                                                        . The

privileged communications




                . Id. ⁋ 12. The communication

                                                 . These communications were kept confidential

and were not intended to be shared with non-privileged third parties. Id.



                                                                            . Id.

              5.        Email Thread, Subject: “
                                                ” (PRIV_AVDL_AT_00029827 /
                        AVDL_AT_01027269, PRIV_AVDL_AT_00027809 /
                        AVDL_AT_01004696, PRIV_AVDL_AT_00029579 /
                        AVDL_AT_01021881)

       These three documents are versions of the same email thread




             The redacted communications



                   In this communication,



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                 . Id. ⁋ 13. These communications were kept confidential and were not intended to

be shared with non-privileged third parties. Id.



                  Id.

       C.       Launch Timeline Presentations

       Jazz challenges 23 redacted slides out 159 total belonging to 3 versions of an Avadel

presentation,                                                      (PRIV_AVDL_AT_00024277,

PRIV_AVDL_AT_00018692, and PRIV_AVDL_AT_0011633). In each presentation,




                    . Seurer Decl. ⁋⁋ 4-5.



                                          . Id. ⁋ 5. The redacted content



                                                                      . Id. These communications

were kept confidential and were not intended to be shared with non-privileged third parties. Suppl.

Seurer Decl. ⁋ 14. The slides were drafted




Id. The slides were shared only with these Avadel employees and outside counsel at Latham &

Watkins. Id. Thus, the redacted slides constitute communications made between attorney and client

in confidence to provide legal assistance, squarely within the scope of attorney-client privilege.

Since the document was also made in anticipation of litigation, it is protected from compelled


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disclosure under the attorney work product doctrine as well. See WebXchange, Inc.,

264 F.R.D. at 128.

IV.    CONCLUSION

       The 25 documents that Avadel has properly withheld or redacted are privileged, and should

not be produced. In light of the foregoing, the Court should deny Jazz’s motion to compel as to

these materials.

 Dated: November 27, 2024                       McCARTER & ENGLISH, LLP

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                    APPENDIX A
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         Index of Avadel’s Documents To Be Produced on a Non-Waiver Basis

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                              ProPharma Documents

 3            PRIV_AVDL_AT_00003987             N/A

 4            PRIV_AVDL_AT_00014373             N/A

 6            PRIV_AVDL_AT_00014059             N/A

 7            PRIV_AVDL_AT_00004470             N/A

 8            PRIV_AVDL_AT_00004316             N/A

 9            PRIV_AVDL_AT_00020758             N/A

 10           PRIV_AVDL_AT_00017357             N/A

 11           PRIV_AVDL_AT_00004370             N/A

 12           PRIV_AVDL_AT_00004150             N/A

 13           PRIV_AVDL_AT_00002487             N/A

 14           PRIV_AVDL_AT_00021534             AVDL_AT_00852833

 15           PRIV_AVDL_AT_00004438             N/A

 16           PRIV_AVDL_AT_00004439             N/A

 17           PRIV_AVDL_AT_00004434             N/A

 18           PRIV_AVDL_AT_00004441             N/A

 19           PRIV_AVDL_AT_00004464             N/A

 22           PRIV_AVDL_AT_00020818             AVDL_AT_00849742

 23           PRIV_AVDL_AT_00012245             AVDL_AT_00815065

 24           PRIV_AVDL_AT_00003486             N/A

 27           PRIV_AVDL_AT_00004154             N/A
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 28           PRIV_AVDL_AT_00006615           AVDL_AT_00800978

 29           PRIV_AVDL_AT_00004169           N/A

 31           PRIV_AVDL_AT_00004069           N/A

 32           PRIV_AVDL_AT_00004052           N/A

 34           PRIV_AVDL_AT_00012974           N/A

                              Greenleaf Documents

 36           PRIV_AVDL_AT_00001925           N/A

 40           PRIV_AVDL_AT_00000310           N/A

 44           PRIV_AVDL_AT_00002977           N/A

 45           PRIV_AVDL_AT_00002979           N/A

 47           PRIV_AVDL_AT_00029826           N/A

 49           PRIV_AVDL_AT_00028499           AVDL_AT_01016580 (withdraw
                                              redactions in part)

 50           PRIV_AVDL_AT_00029827           AVDL_AT_01027269 (withdraw
                                              redactions in part)

 51           PRIV_AVDL_AT_00002426           N/A

 52           PRIV_AVDL_AT_00002421           N/A

 53           PRIV_AVDL_AT_00028332           AVDL_AT_01015126

 54           PRIV_AVDL_AT_00002433           N/A

 55           PRIV_AVDL_AT_00027809           AVDL_AT_01004696 (withdraw
                                              redactions in part)

 57           PRIV_AVDL_AT_00001761           N/A

 58           PRIV_AVDL_AT_00001923           N/A
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 59           PRIV_AVDL_AT_00029051         N/A

 60           PRIV_AVDL_AT_00024682         AVDL_AT_01000204

 61           PRIV_AVDL_AT_00026468         N/A

 62           PRIV_AVDL_AT_00002348         N/A

 63           PRIV_AVDL_AT_00002419         N/A

 64           PRIV_AVDL_AT_00024680         AVDL_AT_01000195

 65           PRIV_AVDL_AT_00027015         N/A

 66           PRIV_AVDL_AT_00028695         AVDL_AT_01025880

 67           PRIV_AVDL_AT_00018682         N/A

 68           PRIV_AVDL_AT_00000338         AVDL_AT_00776547

 69           PRIV_AVDL_AT_00024683         AVDL_AT_01000209

 70           PRIV_AVDL_AT_00028113         AVDL_AT_01013925
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                              CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that true and correct copies of the foregoing

document were caused to be served on November 27, 2024 on the following counsel in the manner

indicated below.

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